






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00118-CR







Vic Eric Ponce, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF CONCHO COUNTY, 119TH JUDICIAL DISTRICT


NO. DSM-09-01684, HONORABLE BEN WOODWARD, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



The trial court found appellant Vic Eric Ponce guilty of possessing more than
four&nbsp;grams of methamphetamine with intent to deliver.  See Tex. Health &amp; Safety Code Ann.
§&nbsp;481.112(a), (d) (West Supp. 2009).  The punishment is eight years' imprisonment.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
record&nbsp;demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v.&nbsp;State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  Counsel's motion to withdraw
is&nbsp;granted.

The judgment of conviction is affirmed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   September 16, 2010

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